                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                          15-CR-4275 JB
                                                            15-CR-4268 JB
                                                            16-CR-1613 JB

CHRISTOPHER GARCIA,
ANGEL DELEON, et al.,
ANTHONY RAY BACA, et al.,


               Defendants.



      MOTION TO COMPEL DISCLOSURE OF DISCOVERABLE MATERIALS


       Defendant Christopher Garcia, by and through his counsel of record, Amy Sirignano and

Christopher Adams, hereby submit this motion, requesting the Court to compel the Government

to disclose the materials and documents in its possession, custody, and control, as summarized

below. On November 20, 2016, defense counsel sent written notice to the Government

requesting copies of the documents and materials that are listed below. See Exhibit F. Since

sending that request, the Government has not provided all the documents at issue, nor has the

Government indicated to counsel whether they intend to produce most these documents.

Consequently, defense counsel files this Motion, requesting that this Court enter an order

compelling the Government to disclose the following items to defense counsel, or to permit

access to reports or items in the Government’s possession, custody and control, as originally

requested in our November 20, 2016 letter. Id.

       The Defendant is entitled to items in the Government's possession as follows:
               Upon a defendant's request, the Government must permit
               the defendant to inspect and to copy or photograph books,
               papers, documents, data, photographs, tangible objects,
               buildings or places, or copies or portions of any of these
               items, if the item is within the Government's possession,
               custody, or control and: (i) the item is material to preparing
               the defense; [or] (ii) the Government intends to use the item
               in its case-in-chief at trial.

FED. R. CRIM. P. 16(a)(1)(E).

       Evidence is considered material, “if there is a reasonable probability that, had the

evidence been disclosed to the defense, the result of the proceeding would have been different.

A ‘reasonable probability’ is a probability sufficient to undermine confidence in the outcome.”

United States v. Robinson, 583 F.3d 1265, 1270 (10th Cir. 2009) (quoting Pennsylvania v.

Ritchie, 480 U.S. 39, 56 (1987)); see also United States v. Burton, 81 F. Supp. 3d 1229, 1244

(D.N.M. 2015) (stating evidence is material under Rule 16 if there is a strong indication that it

will play an important role in uncovering admissible evidence, aiding witness preparation, . . . or

assisting impeachment or rebuttal.”) (quoting United States v. Graham, 83 F.3d 1466, 1474, 317

U.S. App. D.C. 418 (D.C. Cir. 1996)) (quoting United States v. Lloyd, 992 F.2d 348, 351, 301

U.S. App. D.C. 186 (D.C. Cir. 1993)). A defendant is not required to show that withheld records

would have resulted in his acquittal. See Robinson, 583 F.3d at 1270 (citing Kyles v. Whitley, 514

U.S. 419, 434 (1995)), see also, United States v. Scott, 7 F.3d 1046 (10th Cir. 1993) (“a

defendant must demonstrate ‘some indication that the pretrial disclosure of the disputed evidence

[will enable] the defendant significantly to alter the quantum of proof in his favor.’”) (quoting

United States v. Ross, 511 F.2d 757, 763 (5th Cir. 1975), cert. denied, 423 U.S. 836 (1975)).

       In accordance with Federal Rule of Criminal Procedure 16(a)(1)(E), the Defendant
submits to the Court that the items listed below are all material to the Defendant’s case, and these
requests are predicated on a good-faith belief that these items will assist the Defendant in

                                                 2
preparing the defense to these charges, and as such these materials will allow the Defendant to
“alter the quantum of proof in his favor.” Consequently, the Defendant requests the following
documents and other items from the Government:


I. ITEMS RELATING TO SPECIFIC INCIDENT DATES
    a. Items relating to the May 6, 2014/20151 Incident
       1.   Any and all reports from Det. Kevin C. Hallstrom regarding the May 6, 2014/2015
           alleged incident;
       2.   Photographs and sketch from search warrant executed on May 6, 2014/2015 at 8400
           Bosque Point;
       3.   BCSO Evidence lab request(s), reports, evidence log(s), from May 6, 2014/2015;
       4.   Chains of Custody of evidence from May 6, 2014/2015, BCSO, FBI, and all law
           enforcement;
       5.   NM State Laboratory results from analysis of drugs from execution of search warrant
           on May 6, 2014/2015 at 8400 Bosque Point SW;
       6.   All reports on Confidential Human Source, (“CHS”) Glenda Trujillo, and other CHSs
           from the alleged May 6, 2014/2015 drug deal, traffic stop, her statements to law
           enforcement, all records of payments made by, and benefits from law enforcement,
           drug use and trafficking history, background with law enforcement, payments from
           law enforcement, criminal history, among other law enforcement reports regarding
           his/her status as a CHS;
       7.   Any and all law enforcement reports relating to this incident, not previously
           disclosed.




1
 The reports already disclosed to counsel are unclear whether this incident date took place in
2014 or 2015.
                                                3
b. Items relating to the July 13, 2015 Incident:
   1.   Complete law enforcement reports regarding the allegations, including, but not
       limited to, BCSO case number, XX-XXXXXXX, or any separate BCSO case number
       involving the alleged drug buy on July 13, 2015;
   2.   Complete law enforcement reports regarding BCSO case numbers, XX-XXXXXXX, or
       any separate BCSO case number involving the alleged buy on July 13, 2015;
   3.   Full laboratory request(s), reports, evidence log(s), see Garcia Bates 19-29 (date only
       on page 26, no report related case number); Lab report number XX-XXXXXXX,
       requested by Lt. P. Golden (lab report dated October 16, 2015); see Garcia Bates 37-
       40 (date 7/13/15, page 37), BCSO 15-689616, requested by Lt. P. Golden; see Garcia
       Bates 45-48 (date 7/13/15 page 45), BCSO 15-699156, requested by Lt. P. Golden;
   4.   All reports on any and all CHSs from the alleged July 13, 2015 alleged drug deal and
       traffic stop, including, but not limited to the CHSs (possibly, Glenda Trujillo), all
       CHS statements to law enforcement, all records of payments made by, and benefits
       from law enforcement, drug use and trafficking history, background with law
       enforcement, payments from law enforcement, criminal history, among other law
       enforcement reports regarding his/her status as a CHS;
   5.   Chains of Custody of evidence from July 13, 2015, BCSO, FBI, and all law
       enforcement;
   6.   Any and all law enforcement reports relating to this incident, not previously
       disclosed.


c. Items relating to the August 7, 2015 Incident (Counts 1 and Counts 2; Overt Act 191
in 16-CR-1613):
   1.   Complete law enforcement reports regarding the allegations in the indictment,
       including, but not limited to, reports by Deputy Matt Chance;



                                             4
   2.   Full laboratory request(s) from BSCO and all law enforcement, reports, evidence
      log(s), from August 7, 2015; Chains of Custody BCSO/FBI and all law enforcement;
   3.   Complete FBI Investigative Reports (not just a surveillance report, see Bates #6);
   4.   All law enforcement reports on any and all CHSs from the alleged August 7, 2015
      incident, including, but not limited to, CHS Sammy Griego and his wife, Angelina
      Hito, Gerald Archuleta, a.k.a., “Stix,” statements to law enforcement, all records of
      payments made by, and benefits from law enforcement, drug use and trafficking
      history, background with law enforcement, payments from law enforcement, criminal
      history, among other law enforcement reports regarding his/her status as a CHS,
      among others;
   5.   Final transcripts from all recordings from August 7, 2015 which the Government
      intends to use as evidence at trial;
   6.   Any and all law enforcement reports relating to this incident, not previously
      disclosed.


d. Items Relating to the August 11, 2015 Incident (Count 3; Overt Act 192, Overt Act
193 in 16-CR-1613):
   1.   Complete law enforcement reports regarding the allegations of August 11, 2015,
       including, but not limited to, BCSO reports written by Deputy Eric Kuebler, among
       others;
   2.   All FBI investigative reports, (see Bates Garcia 9, 10 – only FBI Surveillance
      Report);
   3. BCSO and all law enforcement evidence laboratory requests from all law
       enforcement, reports, evidence log(s), from August 11, 2015; Chains of Custody
       BCSO/FBI and all law enforcement;
   4. All law enforcement reports on any and all CHSs from the alleged August 11,
       2015 incident, including, but not limited to, CHS Sammy Griego and his wife,

                                             5
       Angelina Hito, Gerald Archuleta, a.k.a., “Stix,” and Vincent Garduno, a.k.a., “Fatal;”
       statements to law enforcement, all records of payments made by, and benefits from
       law enforcement, drug use and trafficking history, background with law enforcement,
       payments from law enforcement, criminal history, among other law enforcement
       reports regarding his/her status as a CHS, among others;
   5. Final transcripts from all recordings involving Sammy Griego and his wife, Angelina
       Hito, Gerald Archuleta, a.k.a., “Stix,” and Vincent Garduno, a.k.a., “Fatal;” which
       the Government intends to use as evidence at trial;
   6. Copy or original of client’s home surveillance equipment and video from 8400
       Bosque Point SW;
   7.   Return of original of client’s cellular telephones, tablets, and computer(s), and
       including any and all photographs/video on client’s cellular telephones, tablets, and
      computer(s), including, all forensic reports relating to all client’s cellular telephones,
       tablets, and computers, but not limited to any and all reports from the FBI CART or
       the NM Regional Forensic Science Center regarding any and all cellular, computer or
       technology evidence that is part of these cases (the Government can mirror image
       these devices).
   8.   Any and all law enforcement reports relating to the August 11, 2015 incident, not
       previously disclosed.


e. Items Relating to the September 10, 2015 Incident (Count 4, Overt Act 197 in 16-
CR-1613; Overt Act 229 and 230 in 15-CR-4268):
   1.   Any and all law enforcement reports regarding the allegations in the indictment of
       September 10, 2015, including, but not limited to, all BCSO reports, 15-18720;
   2.   All FBI Investigative reports (see Garcia Bates 11, 15 only – FBI Surveillance
      Report);
   3.   All Giglio information on Undercover Agent “Cesar” a.k.a. Officer Sergio Munoz;

                                             6
4.   BCSO and all law enforcement evidence laboratory requests, reports, evidence
   log(s),from September 10, 2015; Chains of Custody BCSO/FBI and all law
   enforcement;
5.   All law enforcement reports on any and all CHSs from the alleged September 10,
   2015 incident, including, but not limited to, CHS Sammy Griego and his wife,
   Angelina Hito, CHS Eric Duran, “Crazil,” “Ironman;” statements to law enforcement,
   all records of payments made by, and benefits from law enforcement, including, but
   not limited to all payments to Eric Duran’s NMDOC commissary account during the
   period of this investigation (2014-2016), drug use and trafficking history, background
   with law enforcement, payments from law enforcement, criminal history, among
   other law enforcement reports regarding his/her status as a CHS, among others;
6.   Any and all law enforcement reports, court orders, letters, orders, permission from
   NMDOC Secretary Gregg Marcantel regarding the cellular telephone Eric Duran,
   a.k.a. “Crazil,” a.k.a. “Ironman,” regarding law enforcement giving him a cellular
   telephone while serving his term of imprisonment at the NM DOC, including cellular
   telephone number, 505-218-1861, or any other cellular telephone number that Eric
   Duran “Crazil” used as an agent for law enforcement while incarcerated in the
   NMDOC;
7.   Final transcripts from all recordings from Eric Duran, a.k.a. “Crazil,” a.k.a.
   “Ironman,” which the Government intends to use as evidence at trial;
8.   Any and all information on the alleged firearm, including, but not limited to, its
   history, functioning, results of any and all fingerprint and DNA evidence, which CHS
   brought to 8400 Bosque Point SW, and how it was returned to FBI custody;
9.   Any and all law enforcement reports relating to this incident, not previously
   disclosed.




                                          7
f. Items Relating to the November 18, 2015 Uncharged Incident:
   1.   Complete law enforcement reports regarding the allegations from November 18,
        2015, including, but not limited to, all BSCO Reports, case number 15-18720;
   2. BCSO and all law enforcement evidence laboratory requests, reports, evidence
        log(s), from November 18, 2015; Chains of Custody BCSO/FBI and all law
        enforcement;
   3. All law enforcement reports on any and all CHSs from the alleged November 18,
        2015 incident, including, but not limited to, CHS Sammy Griego and his wife,
        Angelina Hito, CHS Eric Duran, “Crazil,” “Ironman;” statements to law
        enforcement, all records of payments made by, and benefits from law enforcement,
        including, but not limited to all payments to Eric Duran’s NMDOC commissary
        account during the period of this investigation (2014-2016), drug use and trafficking
        history, background with law enforcement, payments from law enforcement,
        criminal history, among other law enforcement reports regarding his/her status as a
        CHS, among others.


g. Items Relating to the December 3, 2015 Incident:
   1.   Complete law enforcement reports regarding the allegations in the indictment,
        including, but not limited to, all sealed and unsealed search warrants, affidavits, and
        returns involving Mr. Christopher Garcia, including his residence, 8400 Bosque Point
        SW, Albuquerque, NM, all his vehicles, his parents’ residence (redacted) ____Kelly
        Road SW, Albuquerque, NM, his brother Matthew Garcia’s residence (redacted)
        ______, and his uncle Raymond Garcia’s residence, (redacted)______Aragon Road
        SW, Albuquerque, NM and vehicle, (redacted) ______Kelly Road SW, Albuquerque,
        NM including, but not limited to 15-MR-802, 15-MR-803, BCSO sealed search
        warrant case number (redacted) ________;



                                              8
       2.   Any and all law enforcement reports relating to the December 3, 2015 execution of
            search warrants related to Christopher Garcia, his residenc(es) and his vehicles, not
            previously disclosed.
       3.   Any and all complete (not redacted) audio recordings, transcripts, and written
            Miranda waiver executed by Christopher Garcia during his 3+ hour post-arrest
            statement with law enforcement.
       4.   Records of all law enforcement present during the post-arrest interrogation of
            Christopher Garcia on December 3, 2015.


    h. Other Items Requested2
       1.   All incident reports, search warrants, affidavits, records, reports, video/audio
            recordings, witness statements, photographs, evidence inventories and chain of
            custody reports, laboratory or forensic reports, or any other investigative materials,
            documents, or data relating to the following incidents:
               •   May 4, 1995 alleged Incident (2:16-CR-01613, Overt Act #16)
               •   March 7, 1997 alleged Incident (2:16-CR-01613, Overt Act #26)
               •   September 12, 1997 alleged Incident (2:16-CR-01613, Overt Act #31)
               •   1999 alleged Incident (2:16-CR-01613, Overt Act #45)
               •   February 19, 2004 alleged Incident (2:16-CR-01613, Overt Act #78)
               •   2004-2005 alleged Incident (2:16-CR-01613, Overt Act #83)
               •   February 2004 alleged shooting of Christopher Garcia (2:16-CR-01613, Overt
                   Acts #84-87).
                       o   In connection with this incident, Counsel specifically requests the
                           following records: (1) search warrant of 1737 Bonaguidi SW; (2) any


2
 These items were not explicitly requested in our November 20, 2016 letter. Nevertheless, the
Defendant is entitled to these items and respectfully requests that the Court compel the
Government to produce them in a timely manner.
                                                 9
          and all photographs, video, crime scene sketches; (3) CADs reports;
          (4) any and all evidence checked into BCSO evidence in relation to the
          incident; (5) Any and all audio of follow-up investigation or of the
          initial event; (6) Any and all information regarding the shooter.
•   February 2005 alleged Incident(s) (2:16-CR-01613, Overt Acts #84-87).
       o   In connection with this incident, Counsel specifically requests the
          following records: (1) phone records for Christopher Garcia, Michael
          Snow, and the alleged victim SD on or around the time of the alleged
          homicide; (2) Medical records for the alleged victim SD, including
          coroner’s reports, autopsy records, or any other documents relating to
          the alleged victim SD; (3) Investigative reports from BCSO related to
          this investigation; (4) Witness statement(s) from Amanda Chavez, or
          any other individuals interviewed by law enforcement during the
          course of this investigation; (5) Crime scene photographs; and (6)
          Counsel requests that the Government allow access to the vehicle
          where the alleged SD homicide took place, so Counsel has the
          opportunity to have the crime scene examined by a defense expert.
•   February 4, 2005 alleged Incident (2:16-CR-01613, Overt Act #88)
•   2005 alleged Incident(s) (2:16-CR-01613, Overt Act #89, 90, 91)
•   May 10, 2006 alleged Incident (2:16-CR-01613, Overt Act #100)
•   June 14, 2006 alleged Incident (2:16-CR-01613, Overt Act #101)
•   December 11, 2008 alleged Incident (2:16-CR-01613, Overt Act #125)
•   2012 alleged Incident (2:16-CR-01613, Overt Act #158)
•   September 2014 alleged Incident (2:16-CR-01613, Overt Act #178)
•   2015 alleged Incident (2:16-CR-01613, Overt Act #182)
•   May 2015 alleged Incident (2:16-CR-01613, Overt Act #188)
•   May 6, 2015 Incident (2:16-CR-01613, Overt Act #189)

                                10
             •   May/June 2015 alleged Incident (2:16-CR-01613, Overt Act #190)
             •   September 4, 2015 alleged Incident (2:16-CR-01613, Overt Act #194)
             •   September 5, 2015 alleged Incident (2:16-CR-01613, Overt Act #195)
             •   September 9, 2015 alleged Incident (2:16-CR-01613, Overt Act #196)
             •   September 19, 2015 Incident (2:16-CR-01613, Overt Act #198)
             •   November 11, 2015 alleged Incident (2:16-CR-01613, Overt Act #227)
             •   November 15, 2015 alleged Incident (2:16-CR-01613, Overt Act #228)
             •   November 26, 2015 alleged Incident (2:16-CR-01613, Overt Act #232)
             •   November 29, 2015 alleged Incident(s) (2:16-CR-01613, Overt Act #233,
                 234, 235)
             •   November 30, 2015 alleged Incident (2:16-CR-01613, Overt Act #236)
             •   December 3, 2015 alleged Incident(s) (2:16-CR-01613, Overt Act #238, 239,
                 240, 241, 242)
             •   Alleged threat against “Sandman” by Mr. Christopher Garcia (information
                 provided by AUSA Maria Armijo via email to counsel on January 17, 2017.
             •   All client recorded telephone calls since incarcerated from the Otero County
                 Detention Center, Torrance County Detention Center, and the Santa Fe
                 County Adult Detention Center.


II. SCIENTIFIC REPORTS AND RELATED ITEMS
   1. All CVs, expert qualifications, and notice of expert testimony and relevance of all expert

     witnesses the Government intends on calling at trial, including, but not limited to, Manuel
     Gomez, Albuquerque Police Department Crime Laboratory; Cheryl M. Serena, Forensic
     Scientist, Southern Forensic Laboratory, Peter Erik Peterson, Ph.D., Supervisory Physical
     Scientist/Forensic Examiner, FBI Laboratory, Latent Print Operations Unit; Scott
     Wischnewski, Senior Drug Chemist, Department of Justice, Drug Enforcement
     Administration, South Central Laboratory, Dallas, TX; Sherine Ali, Federal Bureau of
     Investigation Latent Print Operations Unit; Bryan Acee, Special Agent, Federal Bureau



                                              11
     of Investigation, the unnamed law enforcement audio expert who enhanced any and all
     audio recordings disclosed in discovery, and others not yet disclosed to the defense.
 2.   The validation study for each qualitative and quantitative method used to analyze the
     drug evidence in this case. The complete validation file, including scope and approach of
     the empirical design, assumptions, raw and processed data, results, statistical analysis of
     data, conclusions, and computed estimate of uncertainty. If the laboratory relied on
     external method validation, all relevant references, and a copy of the laboratory’s internal
     verification records documenting the empirically determined performance characteristics
     for the method.
 3. The validation and verification records of any laboratory prepared or laboratory revised
     software or any data processing applications (e.g., Excel templates) used to process
     forensic analytical data.
4. For each method used to test evidence in the subject case, the laboratory’s approved
     Standard Operating Procedure(s) (however named; the version that was in effect at the
     time of the subject casework). If any aspect of the testing method was addressed in
     separate procedures (e.g., sample preparation, instrument calibration, quality control),
     copies of those procedures.
5. SOPs refers to Standard Operating Procedures that were in effect in during the analysis of
     the evidence in this case, including, as appropriate, procedures regarding preparation,
     screening, analysis, and quantitation.
6.   See Exhibit A – Materials from the Agencies Responsible for Sample Collection and
     Transportation;
7.   See Exhibit B – NM DPS Discoverable Materials List – Controlled Substances
     (Qualitative Analysis);
8.   See Exhibit C – DEA Laboratory Discoverable Materials List – Controlled Substances
     (Qualitative Analysis);



                                              12
    9.   See Exhibit D – APD Laboratory Discoverable Materials List – Controlled Substances
         (Qualitative Analysis);
    10. See Exhibit E – FBI Laboratory Fingerprint Discovery.


III. TELEPHONE RECORDS USED BY ALL CONFIDENTIAL HUMAN SOURCES
     1. All cellular telephone bills/invoices, telephone local toll and long distance records and
         text messages for the cellular telephone that law enforcement gave Eric Duran, a.k.a.
         “Crazil,” a.k.a “Ironman,” 505-218-1861, cellular telephone number 505-231-2844,3 Eric
         Duran’s law enforcement handler, and any other cellular telephone number that Eric
         Duran “Crazil” used while working as an agent for law enforcement while incarcerated in
         the NM DOC; Sammy Griego, unknown phone number (redacted); Mario Montoya,
         unknown phone number (redacted); Angelo Barela, unknown phone number (redacted);
         and any and all CHS telephone and text messages related to this indictment.


IV. WITNESS INFORMATION AND MISCELLANEOUS ITEMS
     1.   A list of lay and expert witnesses that the Government intends to call at trial in each case.
     2.   The following information with regard to any expert witnesses the Government intends
         to call at trial: a written summary and report of any anticipated trial testimony, the
         witnesses’ curriculum vitae, the witnesses’ opinions and the bases for those opinions,
         any documentation of any agreements and/or conversations between law enforcement,4
         the Government and any expert witnesses, including, but not limited to, compensation
         and time spent rendering the opinion, and a list of any hypothetical questions to be
         proposed to the experts and the experts’ anticipated answers, copies of any manuals,


3
  This request for these cellular telephone records was not included in counsel’s initial discovery
letter.
4
  This request for records of expert conversations with law enforcement and the Government was
not included in counsel’s initial discovery letter.


                                                   13
   protocols, and procedures utilized by the expert in rendering his/her opinion, copies of
   all documents that the Government provided to the expert prior to rendering his/her
   reports, any and all documents that the expert and the laboratory relies on for its
   licensure and/or accreditation, including, but not limited to:
          a.   Albuquerque Police Department Crime Laboratory, Metropolitan Forensic
               Center, Scientist Manuel S. Gomez, ID #2599 and user Bruce Archer, case
               number 15- 0687932, and all others.


3. Giglio and Henthorn Request and Other Items Relating to Government Witnesses:
          a.      Law Enforcement Witnesses:
          Bryan Acee, Special Agent, Federal Bureau of Investigation (“FBI”)
          Sgt. Mike Alba, Las Cruces Police Department
          John Allen, Sgt. Crime Scene Investigations Supervisor, BCSO
          Ben Bourgeois, Special Agent, FBI
          Matt Chance, Task Force Officer, BCSO
          Brad Cooksey, #288, BCSO HEAT Unit, Criminal Investigations Division
          S. Cotton, Det. BCSO HEAT Unit, Criminal Investigations Division
          Sgt. L. Funes, BCSO, HEAT Unit, Criminal Investigations Division
          Abraham Gallardo, Correctional Officer, Metropolitan Detention Center
          Pete Golden, Sgt., Crime Scene Investigations Supervisor, BCSO
          Kevin C. Hallstrom, Detective, Crime Scene Investigations Supervisor, BCSO
          E. Kuebler, Task Force Officer, BCSO
          Nate Lerner, BCSO (Retired)
          Gregg Marcantel, NM Corrections Department Secretary (Former)
          Mac McCaskill, Special Agent, FBI
          A. Medrano, Task Force Officer, BCSO
          Lorenzo Mora, Det. BCSO FAST Unit Criminal Investigations Division

                                            14
Mark Myers, Task Force Officer, NM Corrections Department
Sergio Munoz, Agent, Las Cruces Police Department
J. Nance, Det. Bernalillo County Sheriff’s Department (“BCSO”) HEAT Unit
Sarah Rich, Special Agent, FBI
C. Romero, Sgt. BCSO FAST Unit, Criminal Investigations Division
Joseph Sainato, Special Agent, FBI
A. Taylor, Task Force Officer, BCSO
Undercover law enforcement employee on September 10, 2015 alleged deal
(Bates # Garcia 13-15)
Any and other law enforcement witnesses that the Government has obtained a
report from relating to Mr. Garcia and has listed in its witness lists or intends to
call at the trials in these matters.
b.      Lay Witnesses:
Mario Paul Montoya, a.k.a. “Poo Poo;”
Eric Duran;
Gerald Archuleta, aka “Sticks,” aka “Grandma;”
Sammy Griego;
Angelita Hito;
Woman driver of 1990 Honda;
CHS who allegedly did deal on May 6, 2015;
CHS who allegedly did deal on July 13, 2015;
CHS who allegedly did deal on August 7, 2015 (Garcia Bates 6, 8); who received
call from Gerald Archuleta (Garcia Bates 7);
CHS who allegedly did deal on August 11, 2015 (Garcia Bates 9, 10);
CHS who allegedly did deal on November 18, 2015 (Garcia Bates 16, 17);
Glenda Trujillo (May 6, 2014, Garcia Bates 1);
Any and other lay witnesses that the Government has listed in its witness lists or

                                       15
        intends to call at the trials in these matters.
       c.      Expert Witnesses
       Albuquerque Police Department Crime Laboratory Metropolitan Forensic Science
       Center, Forensic Scientist Manuel S. Gomez, ID #2599, and user Bruce Archer,
       case number XX-XXXXXXX;
       Cheryl M. Serena, Forensic Scientist, Southern Forensic Laboratory;
       Peter Erik Peterson, Ph.D.;
       Supervisory Physical Scientist/Forensic Examiner, FBI Laboratory, Latent Print
       Operations Unit;
       Scott Wischnewski, Senior Drug Chemist, Department of Justice, Drug
       Enforcement Administration, South Central Laboratory, Dallas, TX;
       Bryan Acee, Special Agent, Federal Bureau of Investigation;
       Any and other expert witnesses that the Government has listed in its witness lists
       or intends to call at the trials in these matters.


4. Other Items Requested
  a. Entire BCSO, APD, New Mexico State Police, FBI, DEA, Metropolitan Detention
  Center, NM Department of Corrections, Las Cruces Police Department, U.S. Marshal
  Service, and any and all other law enforcement agency Reports of Investigation and
  Case Supplemental Reports, FD-302s, or a report of investigation by whatever name,
  regarding the allegations in the indictments, including any uncharged relevant conduct
  or search warrants executed, including, but not limited to, Case Nos. 15-735204; 14-
  641640, 14-641623, (H)15-01-038, 2015-18720, XX-XXXXXXX, XX-XXXXXXX, 15-689616,
  281D-AQ-6239655) (see above for additional case numbers).
  b. A copy of all judicial orders, FBI wiretaps, sealed or unsealed, regarding any NM
  Department of Corrections inmate use, (See Bates #: Garcia 57 for “FBI wiretaps”



                                           16
         language)5 specifically, but not limited to, Eric Duran, a.k.a. Ironman, of cellular
         telephones (including, but not limited to 505-218-1861) inside any New Mexico
         Department of Corrections facilit(ies), county jail, or detention center involving the
         allegations in the above referenced indictments, and any Rule 404(b) or uncharged
         conducts of any defendant or cooperating defendant or witness.
       c. A copy of all judicial subpoenas duces tecum, all administrative subpoenas, and
         subpoena returns and correspondence from the entity or individual subpoenaed,
         including, but not limited to, all attachments that were served on any and all telephone
         providers, correctional facilities, and any other source(s) of investigative information6
         that will be used in these cases.
       d. A copy of all photographs, video, and crime scene or search warrant sketch(es) relating
         to the allegations in the indictments and any and all search warrant and any subsequent
         investigative photographs and video taken, including, but not limited to, any and all
         surveillance photographs (and accompanying logs/reports);
       e. Entire Albuquerque Police Department Crime Laboratory, Metropolitan Forensic
         Science Center reports relating to all case numbers listed above, and any and all
         relevant case numbers related to the indictments in these cases, including the pending
         laboratory reports and results from the testing currently being conducted on the alleged
         narcotics allegedly found pursuant to the multiple search warrants, including, but not
         limited to the examiner’s report, notes, recordings, all investigator(s) notes, working
         papers, recordings and final reports (see above);
       f. Entire criminal history, charging documents, plea and sentencing documents, and State
          and Federal Probation/Supervised Release documents for Mr. Christopher Garcia,
          including his State and Federal penitentiary (“PEN”) packs, both CONFIDENTIAL


5
 This Bates # reference for “wiretaps” was not included in counsel’s initial discovery letter.
6
 This request for and any other source(s) of investigative information was not included in
counsel’s initial discovery letter.
                                                17
  and non- confidential, NM DOC STIU files and any all gang intelligence reports
  mentioning Christopher Garcia.
g. Entire criminal history, charging, and plea and sentencing documents for any and all
 CHSs, cooperating defendants/witnesses against Mr. Christopher Garcia.
h. The entire Metropolitan Detention Center, (and any other NM county jail), NM State
 Department of Corrections, and Federal Bureau of Prisons records of Christopher
 Garcia, including, but not limited to, records from initial dates of incarceration, security
 records, medical/mental health and prescription records, educational records, work and
 commissary records.
i. All prior statements (written and/or oral) from any witness that the Government intends
 to call at trial, including, but not limited to, all witnesses State of New Mexico and
 Federal Grand Jury transcripts.
j. Any and all law enforcement, police, Task Force Agent, Special Agent, and other State
 or Federal criminal or corrections investigators, intelligence analyst(s) or prison gang
 intelligence officers, and Assistant United States Attorneys (AUSAs) emails, text
 messages, rough notes, work papers, drafts or preliminary or supplemental reports,
 summaries or recordings, including, but not limited to, all the charged and uncharged
 allegations against Christopher Garcia, relating to the allegations in the indictments or
 any alleged relevant or Rule 404(b) conduct not yet formally charged.
k. Any and all electronic communications, including emails or texts messages between
 the United States Attorney’s Office for the District of New Mexico (any AUSAs
 assigned on the instant cases, or involved in the filing of any related search warrants in
 these matters) and any and all law enforcement officers, State and Federal Agents,
 intelligence analyst(s), or prison gang intelligence officers participating in the
 investigation of the instant cases;
l. Any and all electronic communications, including emails or texts messages between
 any law enforcement officer, Task Force Officer, Special Agent, intelligence analyst(s),

                                         18
           prison gang intelligence officers participating in the investigation of the instant cases, to
           any witness that was interviewed by law enforcement in the above referenced cases;
         m. A copy of all law enforcement, including but not limited to, Albuquerque Police
           Department (“APD”) BCSO, any local, state, federal law enforcement officers belt
           tapes, lapel camera recordings/videos, dashboard camera recordings, CADs reports
           regarding any and all events (itemized above) involving Christopher Garcia, including,
           but not limited to all the allegations charged and uncharged in the indictments.
          n. A list of all evidence and chain of custody for evidence maintained in any law
           enforcement custody relating to the charges or any 404(b) or uncharged conduct of
           Christopher Garcia.
          o. Notice of all evidence that will be used in the Government’s case in chief against Mr.
           Garcia, in all indictments, pursuant to Federal Rule of Criminal Procedure 12(b)(4)(B).
          p. Recordings and transcripts of all law enforcement interviews (local, state, or federal) or
           other recorded conversations with any other witnesses the Government intends to call at
           trial from 20047 through the date of sentencing in this matter.


V. REQUEST TO VIEW DRUG EVIDENCE, AND ALL LABORATORIES THAT
     CONDUCTED THE DRUG TESTING, AND INDEPENDENT TESTING OF ALL
     THE DRUG EVIDENCE.
     1.   The defense respectfully and immediately requests viewing of all the drug evidence
         (charged and uncharged) in this case;
     2.   The defense respectfully and immediately requests viewing of all the laboratories that
         conducted the drug analysis of all the drug evidence (charged and uncharged) in this case;
     3.   The defense respectfully and immediately requests an independent laboratory testing of all
         drug evidence (charged and uncharged) in this case.


7
    This request was modified to 2004 from 2010 in the defendant’s initial letter request.
                                                   19
VI. REQUEST TO VIEW NM DOC LEVEL VI CELL WHERE ERIC DURAN
 ALLEGEDLY MADE PHONE CALLS TO MR. GARCIA.
 1.   The defense respectfully and immediately requests an independent (without the
    Government) viewing of NM DOC, PNM, Level VI, Santa Fe, NM where all the CHS
    cellular phone calls commenced, which allegedly lead to the indictments in these matters.


VII. REDACTED PAGES OF ALL DISCOVERY AND IMMEDIATE IDENTIFICATION
 OF ALL CHSs, COOPERATING INFORMANTS, COOPERATING DEFENDANTS.
  1. The defense respectfully and immediately requests a complete unredacted set of all
     discovery for all Government productions;
  2. The defense respectfully and immediately requests a complete and unredacted set of
     discovery of all CHSs, Cooperating Informants (CIs), Cooperating Defendants (CDs),
     and Cooperating Witnesses, (CWs), including those itemized above and, Eric Duran,
     Sammy Griego, Angelita Hito, Thomas Clark, Fred Quintana, Mario Montoya, Gerald
     Archuleta, among others. The defense specifically requests all law enforcement reports
     on any and all CHSs relating to all charged and charged allegations in the indictments, all
     statements to law enforcement entities, all records of payments made by, and benefits
     from law enforcement, including, but not limited to all payments to any CHS during the
     period of this investigation (2014-2016), drug use and trafficking history, background
     with law enforcement, payments from law enforcement, criminal history, among other
     law enforcement reports regarding his/her status as a CHS, among others.




                                             20
VIII. NM DOC POLICIES, PROCEDURES; THE STIU AND RIP PROGRAM
  MANUALS.
 1.   All NM DOC policies, procedures and documentation in effect at the time Mr. Garcia
  was housed at NM DOC, including, but not limited to, the STIU and RIP Program policies,
  all movement logs, movement in the pods Mr. Garcia was housed at, and work orders in all
  pods, that Christopher Garcia was housed in while at the NM DOC.
  2. Any and all documentation maintained at the NM DOC regarding the Syndicato de
  Nuevo Mexico (“SNM”), the alleged prison gang, and SNMs involvement in the STIU and
  RIP programs.


IX. SYNDICATO DE NUEVO MEXICO (“SNM”) ALLEGED ENTERPRISE
 EVIDENCE.
  1. Any and all evidence of any distribution of drug profits to the SNM or co-defendants,
      including, but not limited to, all the allegations regarding the SNM in the first fourteen
      (14) paragraphs of indictments 15-CR-4268 and 16-CR-1613.


X. PRIOR LAW ENFORCEMENT CONTACTS WITH CHRISTOPHER GARCIA.
  1. Any and all prior law enforcement contacts with Mr. Garcia, since January 1, 2004,
      including, but not limited to, the shooting of Christopher Garcia, and all subsequent law
      enforcement investigation; all law enforcement telephonic and in person contact with
      Christopher Garcia, whether properly documented or not, including all photographs taken
      by Officer Lerner and law enforcement of Christopher Garcia’s tattoos after conducting
      alleged traffic stops on Christopher Garcia, with or without probable cause, prior to his
      arrest in these federal cases.




                                               21
XI. TRANSCRIPTS OF AUDIO RECORDINGS.
          3.   CHS 73437
                1.   Conversation taking place in November 2015 (0730.002).
                2.   Conversation taking place in November 2015 (0730.003).
          4.   CHS 70206
                1.   Any/all transcripts of audio including this CHS.


          5.   CHS 28708
                1.   Any/all transcripts of audio including this CHS.
          6.   CHS 74844
                1.   Recording with Rudy Perez (2/1/16–2/4/16) (1168.011).
          7.   CHS 74844
                1.   Recordings with Carlos Herrera and Rudy Perez.
                2.   2373.001-2373.023
          8.   CHS 75022
                1.   Recordings with Carlos Herrera.
                2.   Recordings with Alex Munoz.




                                         22
XII. CONCLUSION.
       Based on the foregoing, Christopher Garcia respectfully requests that the Court enter an
order requiring the Government to produce the above-listed items.


                                                    s/ Amy Sirignano, Esq.
                                                    Amy Sirignano
                                                    Law Office of Amy Sirignano, PC
                                                    5901J Wyoming Blvd. NE, #250
                                                    Albuquerque, NM 87109
                                                    505-242-2770
                                                    505-242-2774 facsimile
                                                    amy@abqnmlaw.com

                                                    s/ Christopher W. Adams
                                                    Christopher W Adams
                                                    102 Broad Street
                                                    Suite C
                                                    Charleston, SC 29401
                                                    (843) 577-2153
                                                    Fax: (877) 883-9114
                                                    Email: adams.c@me.com

                                                    Counsel for Defendant Christopher Garcia




                                               23
                               CERTIFICATE OF SERVICE

     I hereby certify that a copy of this pleading was served to opposing counsel via the
CM/ECF system on this 25th day of February, 2017.

                                                   /s/ electronically filed
                                                   Amy Sirignano




                                              24
